AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation


                                    UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                                                       (For Revocation of Probation or Supervised Release)
         V.                                                            (For Offenses Committed On or After November 1, 1987)


RODNEY LORNE W ARD                                                     Case Num ber: DNCW 599CR000030-003
                                                                       USM Num ber: 14818-058

                                                                       Rahwa Gebre-Egziabher
                                                                       Defendant’s Attorney

THE DEFENDANT:

X        adm itted guilt to violation of condition(s) 2, 3, 4, 5, 6, 7 & 8 of the term of supervision.
         W as found in violation of condition(s) count(s)             After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):


                                                                                               Date Violation
 Violation Num ber               Nature of Violation                                           Concluded

 2                               Failure to m ake required court paym ents                     2/21/08

 3                               Failure to subm it m onthly supervision reports               2/21/08

 4                               Failure to report to probation officer as instructed          2/15/08

 5                               Failure to m aintain lawful em ploym ent                      2/21/08

 6                               Drug/alcohol use                                              1/18/08

 7                               Failure to com ply with court ordered Com m unity             2/21/08
                                 Corrections Center

 8                               Failure to report contact with law enforcem ent officer       6/4/07

       The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X        Violation no. 1 was dism issed in state court and defendant is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.


                                                                       Date of Im position of Sentence: April 23, 2008
                                                                            Signed: May 1, 2008




                  Case 5:99-cr-00030-RLV                 Document 89         Filed 05/01/08         Page 1 of 2
AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation



Defendant: RODNEY LORNE W ARD                                                                         Judgm ent-Page 2 of 2
Case Num ber: DNCW 599CR000030-003

                                                           IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of SIX (6) MONTHS.




         The Court m akes the following recom m endations to the Bureau of Prisons:

 X       The Defendant is rem anded to the custody of the United States Marshal.

         The Defendant shall surrender to the United States Marshal for this District:

                           as notified by the United States Marshal.

                            at___a.m . / p.m . on ___.

         The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                           as notified by the United States Marshal.

                            before 2 p.m . on ___.

                           as notified by the Probation Office.

                                                               RETURN

         I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                       ___________________________________________
                                                       United States Marshal


                                              By:      _______________________________________
                                                       Deputy Marshal




                  Case 5:99-cr-00030-RLV                    Document 89      Filed 05/01/08         Page 2 of 2
